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                         EXHIBIT 1
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                                            DROIGSA-07-0032
                          INTER-GOVERNMENTAL SERVICE AGREEMENT
                                            BETWEEN THE
                          UNITED STATES DEPARTMENT OF HOMELAND SECURITY
                            U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT
                              OFFICE OF DETENTION AND REMOVAL
                                               AND
                                   BRISTOL COUNTY SHERIFF OFFICE
                                      400 FAUNCE CORNER ROAD
                                      N. DARTMOUTH, MA02747
This Inter-Governmental Service Agreement ("Agreement") is entered into between United States
Department of Homeland Security Immigration and Customs Enforcement ("ICE"), and [Bristol County
Sheriff OFFICE ("Service Provider")·for the detention and care of aliens ("detainees"). The term "Parties"
is used in this Agreement to refer jointly to ICE and the Service Provider.

FACIU'IY LOCATION:

The Service Provider shall provide detention services for detainees at the following institution(s):

                                BRISTOL COUNTY CORRECTIONAL AND JAIL
                                      400 FAUNCE CORNER ROAD
                                      N. DARTMOUTH,MA02747

Article I. Purpose

   A Purpose: The purpose of this Intergovernmental Service Agreement (IGSA) is to establish an
     Agreement between ICE and the Service Provider for the detention, and care of persons detained
     under the authority of the Immigration and Nationality Act, as amended. All persons in the
     custody of ICE are "Administrative Detainees". This term recognizes that �CE detainees are not
     charged with criminal violations and are only held in custody to assure their presence throughout
     the administrative hearing process and to assure their presence for removal from the United States
     pursuant to a lawful final order by the Immigration Court, the Board of Immigration Appeals or_
     other Federal judicial body.

   B. Responsibilities: This Agreement sets forth the responsibilities of ICE a11d the Service Provider.
       The Agreement states the services the Service Provider shall perform satisfactorily to receive
     . payment from ICE at the rate prescribed in Article I, C.

   C. Guidance: This is a fixed rate agreement, not a cost reimbursable agreement, with respect to the
      detainee day rate. The detainee day rate is $90.00. ICE shall be responsible for reviewing and
      approving the costs associated with this Agreement and subsequent modifications utilizing all
      applicable federal procurement laws, regulations and standards in arriving at the detainee day nite.




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Article II. General

    A. Funding: The obligation of ICE to make payments to the Service Provider is contingent upon the
       availability of Federal funds. ICE will neither pres_ent detainees to the Service Provider nor direct
       performance of any other services until ICE has the appropriate funding. Orders will be placed
       under this Agreement when specific requirements have been identified and funding obtained.
       Performance under this Agreement is not authorized until the Contracting Officer issues an order,
       in writing. The effective date of the Agreement will be negotiated and specified in a delivery order
       to this Agreement that is supported by the ICE Contracting Officer. This Agreement is neither
       binding nor effective unless signed by the ICE Contracting Officer. Payments at the approved rate
       will be paid upon the returp of the signed Agreement by the authorized Local Government official
       to ICE.

    B. Subcontractors: The Service Provider shall notify and obtain approval from the ICE Contracting
        Officer's Technical Representative (COTR) or designated ICE official if it intends to house ICE
        detainees in a facility other than the Bristol County Correctional Facility If either that facility, or
        any future facility is operated by an entity other than the Service Provider, ICE shall treat the entity
        as a subcontractor to the Service Provider. The Service Provider shall obtain the Contracting
        Officer's approval before subcontracting the detention and care of detainees to another entity. The
        Contracting Officer has the right to deny, withhold, or withdraw approval of the proposed
        subcontractor. Upon approval by the Contracting Officer, the Service Provider shall ensure that
        any subcontract includes all provisions of this Agreement, and shall provide ICE with copies of all
        subcontracts. All payments will be made to the Service Provider. ICE will not accept invoices
        from, or make payments to a subcontractor.

    C. Consistent with Law: This is a firm fixed rate agreement, not cost reimbursable agreement. This
       Agreement is permitted under applicable statutes, regulation, policies or judicial mandates. Any
       provision of this Agreement contrary to applicable statutes, regulation, policies or judicial mandates
       is null and void and shall not necessarily affect the balance of the Agreement.

Article III. Covered Services

    A. Bedspace: The Service Provider shall provide male/female beds on a space available basis. The
       Service Provider shall house aU detainees as determined within the Service Provider's classification·
       system. ICE will be financially liable only for the actual detainee days as defined in Paragraph C of
       Article Ill.

   B. Basic Needs: The Service Provider shall provide ICE detainees with safekeeping, housing,
      subsistence, medical and other services in accordance with this Agreement. In providing these
      services, the Service Provider shall ensure compliance with all applicable laws, regulations, fire and
      safety codes, policies and procedures. If the Service Provider determines that ICE has delivered a
      person for custody who is under the age of eighteen (18), the Service Provider shall not house that
      person with adult detainees and shall immediately notify the ICE COTR or designated ICE official.
      The types and levels ofservices shall be consistent with those the Service Provider routinely affords
      other inmates.



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    C. Unit of Seivice and Financial Liability: The unit of service is called a "detainee day" and is defined
       as one person per day. The detainee day begins on the date of arrival. The Seivice Provider may
       bill ICE for the date of arrival but not the date of departure. The Service Provider shall not charge
       for costs that are not directly related to the housing and detention of detainees. Such costs include
       but are not limited to:

                1) Salaries of elected officials
                2) Salaries of employees not directly engaged in the housing and detention of
                    detainees
                3 Indirect costs in which a percentage of aU local government costs are pro-rated and
                  )
                    applied to individual departments unless, those cost are allocated under an approved
                    Cost Allocation Plan
                4) Detainee services which are not provided to, or cannot be used by, Federal detainees
                5) Operating costs of facilities not utilized by Federal detainees
                6) Interest on borrowing Gwwever represented), bond discounts, costs of
                    financing/refinancing, except as prescribed by 0MB Circular A87.
                7 ) Legal or professional fees (specifically legal expenses for prosecution of claims against
                    the Federal Government, legal expenses of individual detainees or inmates)
                8) Contingencies

    D. Interpretive Services: The Seivice Provider shall make special provisions for non-English speaking;
       handicapped or illiterate detainees. ICE will reimburse the Service Provider for the actual costs
       associated with providing commercial written or telephone language interpretive services. Upon
       request, ICE will assist the Service Provider in obtaining translation services. The Service Provider
       shall provide all instructions verbally either in English or the detainees' language, as appropriate, to
       detainees who cannot read. The Service Provider shall include the actual costs that the Service
       Provider paid for such setvices on its monthly invoice. Except in emergency situations, the Service
       Provider shall not use detainees for translation services. If the Service Provider uses a detainee for
       translation service, it shall notify ICE within twenty-four (24) hours of the translation service.

    E. Escort and Transportation Setvices: The Service Provider will provide, upon request and as
       scheduled by ICE, necessary escort and transportation services for ICE detain�es to and from
       designated locations. Escort setvices will be required for escorting detainees to court hearings;
       escorting witnesses to the courtroom and staged with the ICE Judge during administrative
       proceedings. Transportation Services shall be performed by at least two (2) qualified sworn law
       enforcement or correctional officer personnel employed by the Service Provider under their
       policies, procedures and 3:uthorities. See Article XVII.

Article IV. Receiving and Discharging Detainees

   A Required Activity: The Service Provider shall receive and discharge detainees only to and from
      properly identified ICE personnel or other properly identified Federa11aw enforcement officials
    · with prior authorization from OHS/ICE. Presentation of U.S. Government identification shall
      constitute "proper identification." The Service Provider shall furnish receiving and discharging
      services twenty-four (24) hours per day, seven (7) days per week. ICE shall furnish the Service
      Provider with reasonable notice of receiving and discharging detainees.. The Service Provider shall
      ensure positive identification and recording of detainees and ICE officers. The Service Provider

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        shall not permit medical or emergency discharges except through coordination with on-duty ICE
        officers.

    B. Emergency Situations: ICE detainees shall not be released from the facility into the custody of
       other Federal, state, or local officials for any reason, except for medical or emergency situations,
       without express authorization of ICE.

   · C. Restricted Release of Detainees: The Service Provider shall not release ICE detainees from its
        physical custody to any persons other than those described in Paragraph A of Article IV for any
        reason, except for either medical, other emergency situations, or in response to a federal writ of
        habeas corpus. If an ICE detainee is sought for federal, state, or local proceedings, only ICE may
        authorize release of the detainee for such purposes. The Service Provider shall contact the ICE
        COTR or designated ICE official immediately regarding any such requests.

    D. Service Provider Right of Refusal: The Service Provider retains the right to refuse acceptance, or
       request removal, of any detainee exhibiting violent or disruptive behavior, or of any detainee found
       to have a medical condition that requires medical care beyond the scope of the Service Provider's
       health care provider. In the case of a detainee already in custody, the Service Provider shaH notify
       ICE and request such removal of the detainee from the Facility. The Service Provider shall allow
       ICE reasonable time to make alternative arrangements for the detainee.

   E. Emergency Evacuation: In the event of an emergency requiring evacuation of the Facility, the
      Service Provider shall evacuate ICE detainees in the same manner, and with the same safeguards, as
      it employs for persons detained under the Service Provider's authority. The Service Provider shall
      notify the ICE COTR or designated ICE official within two (2) hours of evacuation.


Article V. DHS/ICE Detention Standards

   SATISFACTORY PERFORMANCE:

   The Service Provider is required to house detainees and perform related detention services in
   accordance with the most current edition ofICE National. Detention Standards
   (http://w1ivw.ice.gov/partners/dro/opsmanual/index.htm). ICE Inspectors will conduct periodic
   inspections of the facility to assure compliance with the ICE National Detention Standards.


   Article VI. Medical Services

   A. Auspices of Health Authority: The Service Provider shall provide ICE detainees with on-site health
      care services under the control of a local government designated Health Authority. The Service
      Provider shall ensure equipment, supplies, and materials, as required by the Health Authority, are
      furnished to deliver health care on-site.

   B. Level of Professionalism: The Service Provider shall ensure that all health care service providers
      utilized for ICE detainees hold current licenses, certifications, and/or registrations with the State
      and/or City where they are practicing. The Service Provider shall retain a registered nurse to
      provide health care and sick call coverage unless expressly stated otherwise in this Agreement. In
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     the absence of a health care professional, non-health care personnel may refer detainees to health
     care resources based upon protocols developed by United States Public Health Service (USPHS)
     Division of Immigration Health Services (DIHS).

C. Access to Health Care: The Service Provider shall ensure that on-site medical and health care
   coverage as defined below is available for all ICE detainees at the facility for at least eight (8) hours
   per day, seven (7) days per week. The Service Provider shall ensure that its employees solicit each
   detainee for health complaints and deliver the complaints in writing to the medical and health care
   staff. The Service Provider shall furnish the detainees instructions in his or her native language for
   gaining access to health care services as prescribed in Article III, Paragraph D.

D. On-Site Health Care: The Service Provider shall furnish on-site health care under this Agreement.
   The Service Provider shall not charge any ICE detainee an additional fee or Co-payment for
   medical services or treatment provided at the Service Provider's facility. The Service Provider
   shall ensure that ICE detainees receive no lower level of on-site medical care and services than
   those it provides to local inmates. On-site health care services shall include arrival screening within
   twenty-four (24) hours of arrival at the Facility, sick call coverage,. provision of over-the-counter
   medications, treatment of minor injuries (e.g. lacerations, sprains, and contusions), treatment of
   special needs and mental health assessments. Detainees with chronic conditions shall receive
   prescribed treatment and follow-up care.

    L Bristol County Sheriff Office contracts for medical care with Correctional Medical Care Inc.
    and it is comprehensive treatment, including diagnostic services and treatment. Under the terms
    of this agreement the Government will not be charged for any medical services untHafter
    December 6, 2009. DIHS will handle medical services after December 6, 2009.



F Arrival Screening: Arrival screening shall include at a minimum TB symptom screening, planting
  of the Tuberculin Skin Test (PPD), and recording the history of past and present illnesses (mental
  and physical). The health care service provider or trained health care personnel may perform the
  arrival screening.

F. Acceptance of Detainees with Extreme Health Conditions: If the Service Provider determines that
   an ICE detainee has a medical condition which. renders that person unacceptable for detention
   under this Agreement, (for example, contagious disease, condition needing life support,
   uncontrollable violence), the Service Provider shall notify the ICE COTR or the designated ICE
   official. Upon such notification the Se1vice Provider shall allow ICE reasonable time to make the
   proper arrangements for further disposition of that detainee.

G. DIHS Pre-Approval for Non-Emer�ency Off-Site Care: The Service Provider shall obtain DIHS
   approval for any non-emergency, offsite healthcare for any detainee. DIHS acts as the agent and
   final health authority for ICE on all off-site detainee medical and health related matters. The
   relationship of the DIHS to the detainee equals that of physician to patient. The Service Provider
   shall release any and all medical information for ICE detainees to the DIHS representatives upon
   request:. The Service Provider shall solicit DIHS approval before proceeding with non-emergency,
   off-site medical care (e.g. off site lab testing, eyeglasses, cosmetic dental prosthetics, dental care for
   cosmetic purposes). The Service Provider shall submit supporting documentation for non-routine,
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         off-site medical health services to DIHS. For medical care provided outside the facility, DIHS may
         determine that an alternative medical provider or institution is more cost-effective or more aptly
         meets the needs of ICE and the detainee. ICE may refuse to reimburse the Service Provider for
         non-emergency medical costs incurred that were not pre-approved by the DIHS. The Service
         Provider shall send all requests for pre-approval for non-emergent off-site care to:

                                  Phone: (888) 718-8947
                                  FAX: (866) 47 5-9349
                                  Via website: www.inshealth.org

    The Service Provider is to notify all medical providers approved to furnish off-site health care of
    detainees to submit their bills in accordance with instructions provided to:

                                  United States Public Health Services
                                  Division of Immigration Health Services
                                  1220 L Street, NW PMB 468
                                  Washington, DC 20005-4018
                                  (Phone): (888)-718-8947
                                  (FAX): (866)-47 5-9349
                                  Via website: www.inshealth.org


    H. Emergency Medical Care: The Service Provider shall furnish twenty-four (24) hour emergency
       medical care and emergency evacuation procedures. In an emergency, the Service Provider shall
       obtain the medical treatment required to preserve the detainee's health. The Service Provider shall
       have access to an off-site emergency medical provider at all times. The Health Authority of the
       Service Provider shall notify the DIHS Managed Care Coordinator by calling the telephone
       number listed in paragraph G above as soon as possible, and in no case more than seventy-two (72)
       hours after detainee receipt of such care. The Health Authority will obtain pre-authorization from
       the DIHS Managed Care Coordinator for service(s) beyond the initial emergency situation.

    I.   Off-Site Guards: The Service Provider shall provide guards at all times detainees are admitted to an
         outside medical facility.

   J.    DIHS Visits: The Service Provider shall aHowDIHS Managed Care Coordinators reasonable access
         to its facility for the purpose of liaison activities with the Health Authority and associated Service
         Provider departments.


Article VII. No Employment of Unauthorized Aliens

   Subjectto existing laws, regulations, Executive Orden;, and addenda to this Agreement, the Service
   Previder shall not employ aliens unauthorized to work in the United States. Except for maintaining
   personal living areas, ICE detainees shall not be required to perform manual labor.


Article VIII. Employment Screening Requirements

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                               \
    A General. The Service Provider shall certify to the U.S. Immigration and Customs Enforcement,
    Contracting Officer that any employees performing under this Agreement, who have access to ICE
    detainees, will have successfully completed an employment screening that includes at a minimum a
    criminal history records check, employment reference checks and a citizenship check.

    B. Employment Eligibility. Screening criteria that will exclude applicants from consideration to
    perform under this agreement includes:

        1. Felony convictions
        2, Conviction of a sex crime
        3. Offense/s involving a child victim
        4. Felony drug convictions
        5. Pattern of arrests, without convictions, that brings into question a person's judgment and
        reliability to promote the efficiency and integrity of the ICE mission.
        6. Intentional falsification and/ or omission of pertinent personal information to influence a
        favorable employment decision.

    Subject to existing law, regulations and/or other provisions of this Agreement, illegal or undocumented
    aliens shall not be employed by the Service Provider.

    The Service Provider shall certify that each employee working on this Agreement will have a Social
    Security Card issued and approved by the Social Security Administration. The Service Provider shall be
    responsible to the Government for acts and omissions of his own employees and for any
    Subcontractor(s) and their employees.

    The Service Provider shall expressly incorporate this provision into any and all Subcontracts or
    subordinate agreements issued in support of this Agreement.

    The Service Provider shall recertify their employees every three years by conducting a criminal history
    records check to maintain the integrity of the workforce.

    The Service Provider shall implement a Self-Reporting requirement for its employees to immediately
    report one's own criminal arrest/s to superiors.

    C. Security Management. The.Service Provider shall appoint a senior official to act as the Agreement
    Security Officer. The individual will interface with the COTR on all security matters, to include
    physical, personnel, and protection of all Government information and data accessed by the Service
    Provider.

    The COTR and Contracting Officer shall have the right to inspect the procedures, methods, all
    documentation and facilities utilized by the Service Provider in complying with the security
  · requirements under this Agreement. Should ICE determine that the Service Provider is not complying
    with the security requirements of this Agreement, the Service Provider shall be informed in writing by
    the Contracting Officer of the proper, action to be taken in order to effect compliance with these
    employment screening requirements.

Article IX, Period of Performance

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    A. This Agreement shall become effective upon the date of final signature by the ICE Contracting
       Officer and the authorized signatory of the Service Provider and will remain in effect indefinitely
       unless terminated in writing by either party. Either party must provide written notice of intention
       to terminate the agreement, 60 days in advance of the effective date of formal termination, or the
       Parties may agree to a shorter period under the procedures prescribed in Article XI.

    B. Basis for Price Adjustment: A firm fixed price with economic adjustment provides for upward and
        downward revision of the stated Per Diem based upon cost indexes of labor and operating
        expenses, or based upon the Service Provider's actual cost experience in providing the service.

Article X. Inspection

    A. Jail Agreement Inspection Report: The Jail Agreement Inspection Report stipulates minimum
       requirements for fire/safety code compliance, supervision, segregation, sleeping utensils, meals,
       medical care, confidential communication, telephone access, legal counsel, legal library, visitation,
       and recreation. The Service Provider shall allow ICE to conduct inspections of the facility, as
       required, to ensure an acceptable level of services and acceptable conditions of confinement as
       determined by ICE. No notice to the Service Provider is required prior to an inspection. ICE will
       conduct such inspections in accordance with the Jail Agreement Inspection Report. ICE will share
       findings of the inspection with the Service Provider's facility administrator .. The Inspection Report
       will state any improvements to facility operation, conditions of confinement, and level of service
       that will be required by the Service Provider.

    B. Possible Termination: If the Service Provider fails to remedy deficient service identified through an
       ICE inspection, ICE may ter minate this Agreement without regard to the provisions of Articles IX
       and XL

    C. Share Findings: The Service Provider shall provide ICE copies of facility inspections, reviews,
       examinations, and surveys performed by accreditation sources.

    D. Access to Detainee Records: The Service Provider shall, upon request, grant ICE access to any
       record in its possession, regardless of whether the Service Provider created the record, concerning
       any detainee held pursuant to this Agreement. This right of access shall include, but is not limited
       to, incident reports, records relating to suicide attempts, and behavioral assessments and other
       records relating to the detainee's behavior while in the Service Provider's custody. Furthermore, the
       Service Provider shall retain all records where this right of access applies for a period of two (2)
       years from the date of the detainee's discharge from the Service Provider's custody.

Article XI. Modifications and Disputes

   A. Modifications: Actions other than those designated in this Agreement will not bind or incur
      liability on behalf of either Party. Either Party may request a modification to this Agreement by
      submitting a written request to the other Party. A modification will become a part of this
      Agreement only after the ICE Contracting Officer and the authorized signatory of the Service
      Provider have approved the modification in writing.

   B. Disputes: The ICE Contracting Officer and the authorized signatory of the Service Provider will
      settle disputes, questions and concerns arising from this Agreement. Settlement of disputes shall
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       be memorialized in a written modification between the ICE Contracting Officer and authorized
       signatory of the Serv1ce Provider. In the event a dispute is not able to be resolved between the
       Setvice Provider and the ICE Contracting Officer, the ICE Contracting Officer will make the final
       decision. If the Service Provider does not agree with the final decision, the matter may be appealed
       to the ICE Head of the Contracting Activity (HCA) for resolution. The ICE HCA may employ all
       methods available to resolve the dispute including alternative dispute resolution techniques. The
       Service Provider shall proceed diligently with performance of this Agreement pending final
       resolution of any dispute.

Article XII. Adjusting the Detainee Day Rate

   ICE shall reimburse the Seivice Provider at the fixed detainee day rate shown on the cover page of the
   document, Article L (C). The Parties may adjust the rate twenty-four (24) months after the effective
   date of the agreement and every twelve (12) months thereafter. The Parties shall base the cost portion
   of the rate adjustment on the principles of allowability and allocability as set forth in 0MB Circular A
   87, federal procurement laws, regulations, and standards in arriving at the detainee day rate. The
   request for adjustment shall be submitted on an ICE Jail Setvices Cost Statement. If ICE does not
   receive an official request for a detainee day rate adjustment that is supported by an ICE Jail Seivices
   Cost Statement, the fixed detainee day rate as stated in this Agreement will be in place indefinitely. See
   Article XI A.

   ICE reserves the right to audit the actual and/or prospective costs upon which the rate adjustment is
   based. All rate adjustments are prospective. As this is a fixed rate agreement, there are no retroactive
   adjustment(s).

Article XIII. Enrollment, Invoicing, and Payment

   A. Enrollment in Electronic Funds Transfer: The Service Provider shall provide ICE with the
      information needed to make payments by electronic funds transfer (EFT). Since January 1, 1999,
      ICE makes all payments only by EFT'. The Service Provider shall identify their financial institution
      and related information on Standard Form 3881, Automated Clearing House (ACH) Vendor
      Miscellaneous Payment EnroHment Form. The Setvice Provider shall submit a completed SF 3881
      to ICE payment office prior to submitting its initial request for payment under this Agreement. If
      the ETT data changes, the Service Provider shall be responsible for providing updated' information
      to the ICE payment office.

   B. Invoicing: The Service Provider shall submit an original itemized invoice containing the following
      information: the name and address of the facility; the name of each ICE detainee; detainee's A­
      number; specific dates of detention for each detainee; the total n umber of detainee days; the daily
      rate; the total detainee days multiplied by the daily rate; an itemized listing of all other charges; and
      the name, title, address, and phone number of the local official responsible for invoice preparation.
      The Service Provider shall submit monthly invoices within the first ten (10) working days of the
      month following the calendar month when it provided the services, to:




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                                 Department of Homeland Security
                                 ATTN: Immigration and Customs Enforcement
                                 Deportation Unit 7 Removal
                                 JFK Federal Building
                                 Government Center, Room 1775
                                 Boston, MA 02203


    C. Payment: ICE will trans er n s e ectronica y t rough either an Automated Clearing House
       subject to the banking laws of the United States, or the Federal Reserve Wire Transfer System. The
       Prompt Payment Act applies to this Agreement. The Prompt Payment Act requires ICE to make
       payments under this Agreement the thirtieth (30tl') calendar day after the ICE Deportation office
       receives a complete invoice. Either the date on the Government's check, or the date it executes an
       electronic transfer of funds, shall constitute the payment date. The Prompt Payment Act requires
       ICE to pay interest on overdue payments to the Service Provider. ICE will determine any interest
       due in accordance with the Prompt Payment Act.·

Article XIV. Government Furnished Property

   A. Federal Property Furnished to the Service Provider: ICE may furnish Federal Government property
      and equipment to the Service Provider. Accountable property remains titled to ICE and shall be
      returned to the custody of ICE upon termination of the Agreement. The suspension of use of bed
      space made available to ICE is agreed to be grounds for the recall and return of any or all
      government furnished property.

    B. · Service Provider Responsibility: The Service Provider shall not remove ICE property from the
        facility withoutthe prior written approval ofICE. The Service Provider shall report any loss or
        destruction of any Federal Government property immediately to ICE.

Article XV. Hold Harmless and Indemnification Provisions

   A. Service Provider Held Harmless: ICE shall, subject to the availability of funds, save and hold the
      Service Provider harmless and indemnify the Service Provider against any and all liability claims
      and costs of whatever kind and nature, for injury to or death of any person(s), or loss or damage to
      any property, which occurs in connection with or is incident to performance of work under the
      terms of this Agreement, and which results from negligent acts or omissions of ICE officers or
      employees, to the extent that ICE would be Hable for such negligent acts or omissions under the
      Federal Tort Claims Act, 28 USC 2691 et seq.

   B. Federal Government Held Harmless: The Service Provider shall save and hold harmless and
      indemnify federal government agencies to the extent allowed by law against any and all liability
      claims, and costs cif whatsoever kind and nature for injury to or death of any person or persons and
      for loss or damage to any property occurring in connection with, or in any way incident to or
      arising out of the occupancy, use, service, operation or performance of work under the tenets of
      this Agreement, resulting from the negligent acts or omissions of the Service Provider, or any
      employee, or agent of the Service Provider. In so agreeing, the Service Provider does not waive any
      defenses, immunities or limits of liability available to it under state or federal law.
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    C. Defense of Suit: In the event a detainee files suit against the Setvice Provider contesting the legality
       of the detainee's incarceration and/or immigration/citizenship status, ICE shall request that the
       U.S. Attorney's Office,.as appropriate, move either to have the Setvice Provider dismissed from
       such suit, to have ICE substituted as the proper party defendant; or to have the case removed to a
       court of proper jurisdiction. Regardless of the decision on any such motion, ICE shall request that
       the U.S. Attorney's Office be responsible for the defense of any suit on these grounds.

    D. ICE Recovery Right: The Setvice Provider shall do nothing to prejudice ICE's right to recover
       against third parties for any loss, destruction of, or damage to U.S. Government property. Upon
       request of the Contracting Officer, the Setvice Provider shall, at ICE's expense, furnish to ICE all
       reasonable assistance and cooperation, including assistance in the prosecution of suit and execution
       of the instruments of assignment in favor of ICE in obtaining recovery.

Article XVI. Financial Records

    A. Retention of Records: All financial records, supporting documents, statistical records, and other
       records pertinent to contracts or subordinate agreements under this Agreement shall be retained by
       the Service Provider for three (3) years for purposes of federal examinations and audit. The three
       (3) year retention period begins at the end of the first year of completion of service under the
       Agreement. If any litigation, claim, negotiation, audit, or other action involving the records has
       been started before the expiration of the three (3) year period, the records must be retained unti1
       completion of the action and resolution of all issues which arise from it or until the end of the
       regular three (3) year period, whichever is later.

    B. Access to Records: ICE and the Comptroller General of the United States, or any of their
       authorized representatives, shall have the right of access to any pertinent books, documents, papers
       or other records of the Service Provider or its sub-contractors, which are pertinent to the award, in
       order to make audits, examinations, excerpts, and transcripts. The rights of access must not be
       limited to the required retention period, but shall last as long as the records are retained.

    C. Delinquent Debt Collection: ICE will hold the Service Provider accountable for any overpayment,
       or any breach of this Agreement that results in a debt owed to the Federal Government. ICE shall
       apply interest, penalties, and administrative costs to a delinquent debt owed to the Federal
       Government by the Service Provider pursuant to the Debt Collection Improvement Act of 1982, as
       amended.

Article XVII. Guard/Transportation Setvices

   A. Transport Services Rate: The Service Provider agrees, upon request of the Federal Government in
      whose custody an ICE detainee is held, to provide all such air/ground transportation services as
      may be required to transport detainees securely, in a timely manner, to locations as directed by the
      ICE COTR or designated ICE official. Transportation between the facility and ICE offices, plus·
      related mileage is included in the daily per diem rate. Other ICE directed transportation will be
      reimbursed at the rate of $26.21 per hour. Transportation mileage shall be reimbursed at the
      mileage rate established pursuant to the current General Services Administration (GSA)/federal
      travel allowance rates. Any incurred overtime pay for such services will be reimbursed at the
      applicable overtime rate $39.10 of per hour. At least two (2) qualified law enforcement or
                                                                                                            11
         Case 1:22-cv-10652-WGY Document 30-1 Filed 02/13/23 Page 13 of 47



         correctional officer personnel employed by the Service Provider under their policies, procedures
         and practices will perform transport services.

    B. Medical Transportation: Transportation and/or escort/stationary guard services for ICE detainees
       housed at the Service Provider's facility to and from a medical facility for outpatient care, and
       transportation and/or escort guard services for ICE detainees housed at the Service Provider's
       facility admitted to a medical facility; and to detainees attending offsite court proceedings. An
       officer or officers, shall keep the detainee under constant supervision twenty-four (24) hours per
       day until the detainee is ordered released from the hospital, or at the order of the COTR. The
       Service Providers agrees to augment such practices as may be requested by ICE to enhance specific
       requirements for security, detainee monitoring, visitation and contraband control.

    C. Indemnities: Furthermore, the Service Provider agrees to hold harmless and indemnify DHS/ICE
       and its officials in their official and individual capacities from any liability, including third-party
       liability or worker's compensation, arising from the conduct of the Service Provider and its
       employees during the course of transporting ICE detainees.

    D. Personal Vehicles: The Service Provider shall not allow employees to use their personal vehicles to
       transport detainees. The Service Provider shall furnish vehicles equipped with interior security
       features including physical separation of detainees from guards. The Service Provider shall provide
       interior security specifications of the vehicles to ICE for review and approval prior to installation.

    E. Training and Compliance: The Service Provider shall comply with ICE transportation standards
       (ht;tp://www.ice.gov/partners/dro/opsmanual/index.htm) related to the number of hours the
       Provider's employee may operate a vehicle. The transportation shall be .accomplished in the most
       economical manner. The Service Provider personnel provided for the above services shall be of the
       same qualifications, receive training, complete the same security clearances, and wear the same
       uniforms as those personnel provided for in other areas of this agreement.

    F. Same Sex Transport: During all transportation activities, at least one (1) officer shall be the same
       sex as the detainee. Questions concerning guard assignments shall be directed to the COTR for
    G. final determination.

    H. Miscellaneous Transportation: The COTR may direct the Service Provider to transport detainees
       to unspecified, miscellaneous locations.

    I.   Billing Procedures: The itemized monthly invoice for such stationary guard services shall state the
         number of hours being billed, the duration of the billing (times and dates) and the name of the
         detainee(s) that was guarded.

Article XVIII. Contracting Officer's Technical Representative

The Contracting Officer's Technical Representative (COTR) for this Agreement is will be appointed by the
Contracting Officer for this agreement. When and if the COTR duties are reassigned, an administrative
modification will be issued to reflect the changes. This designation does not include authority to sign
contractual documents or to otherwise commit to, or issue changes, which could affect the price, quantity,
or performance of this Agreement.

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     IN WHNESS WHEREOF, the widersigned, duly authorized ofiicers, have subscribed their names on behalf of the
     Bristol County Sheriff and Departtnenl of Homeland Security, IJ .S. Jrnmigrntion and Customs Enforcement.



     ACCEPTED:                                                         ACCEPTED;




    The Intergovernmental Service AgreementNumber Is DROIGSA-O7-0Q.3-Z.




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The purpose of this modification is to incorporate Title 29,                                                                       Part 4 Labor Standards for
Federal Service Contract clause and the prevailing Wage Determination for Bristol                                                                                                  County
into      the     Inter-Governmental                     Service Agreement (IGSA) number DROIGSA-07-0032.


a) Title 29, Par� 4 Labor Standards for Federal service Contract clause is hereby
incorporated into the referenced IGSA as per Attachment I, to this modification.


b)     The Wage Determination                         Number 2007-0550,                        Revision 1,                dated          10/29/2007,            with adopted
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                          DROIGSA-07-0032/ /P0000l                                                               2              l3
NAME OF OFFEROR OR CONTRACTOR
BRISTOL COUNTY SHERIFFS OFFICE
 ITEM NO.                             SUPPLIES/SERVICES               QUANTITY UNIT   UNIT PRICE                     AMOUNT

   {A)                                       (B)                       (C)     (D)      (E)                              (!")
            w,HJe rates and benefits for Bristol County L,
            hereby incorporated into the referenced IGSA per
            enclosed Attachment II, to this modification"

            c) The language under Article XI Adjusting the
            Detainee Day Rate is change to read as follows:



            From:
            Article XI Adjusting         the Detainee Day Rate

            ICE shall reimburse the Service Provider at the
            fixed detainee day rate shown on the cover page
            of the document, Article I, (C) • The Parties may
            adjust the rate twenty-four (24) months afl:er the
            effective date of the agreement and every twelve
             (12) months thereafter.    The Parties shall base
            the cost portion of the rate adjustment on the
            principles of allowability and allocability as
            set forth in 0MB Circular A---87, federal
            procurement laws, regl1.l.ations, and standards in
            arriving at the detainee day rate. The request
            for adjust:ment shall be ::mbmitted on an ICE ,Jail
            Services Cost Statement. If ICE does not .r:eceive
            an official request for a detainee day rate
            adjustment that is supported by a.n ICE Jail
            Services Cost Statement, the fixed detainee day
            rate ac, stated i.n this Agreement wi.l l be in place
            indefinitely. See Article XI A.

            To:
            Article XI Adjusting         the Detainee Day Rate

            ICE shall reimburse the Service Provider at the
            fixed detainee day rate shown on the cover page
            of the document, Article I. (C) , The Parties may
            adjust the rate twelve (12) month�, after the
            effective date of the agreement and every twelve
             (12) months thereafter. The Parties shall base
            the cost portion of the rate adjustrnent on the
            principles of allowability and allocability as
            set forth in 0MB Circular A-87, federal
            procurement laws, recruli1tions, and standards in
            arriving at the detainee day rate. The request
            for adjustment shall be submitted on an ICE ,Tail
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                                                                                                   OPTIONAL FORM J¾ (4"66)
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                                                                                                   FAR (46 CFR! 53.110
                 Case 1:22-cv-10652-WGY Document 30-1 Filed 02/13/23 Page 18 of 47


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NAME OF OFFEROR OR CONTRACTOR
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 ITEM NO.                             SUPPLIES/SERVICES               UNIT PRICE                     AMOUNT

   (A)                                       (B)                        (E)                              (F)

            rate as stated in this A9reement will be in place
            indefinitely. See Article XI A.

            (d) All other terms and conditions within the
            referenced IGSA remains the same.


            POC: Susan F;rickson, Contracting Officer -·
            (202)-514··9857




                                                                                   OPTIONAL !'ORM 336 (4-86)
                                                                                   Spofl!SOf-B� t<y GSA
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TITLE 29--LABOR
PART 4-LABOR STANDARDS FOR FEDERAL SERVICE CONTRACTS--Table of Contents

Subpart A Service Contract Labor Standards Provisions and Procedures

Sec. 4.6 Labor standards clauses for Federal service contracts
exceeding $2,500.

The clauses set forth in the following paragraphs shall be included in
full by the contracting agency in every contract/Inter-Governmental
Service Agreement (IGSA) entered into by the United States or the
District of Columbia, in excess of $2,500, or in an indefinite amount,
the principal purpose of which is to furnish services through the use
of service employees:

 (a) Service Contract Act of 1965, as amended: This contract/IGSA is
subject. to the Service Contract Act of 1965 as amended (41 U.S.C. 351
et seq.) and is subject to the following provisions and to all other
applicable provisions of the Act and regulations of the Secretary of
Labor issued there under (29 CFR part 4).

 (b) (1) Each service employee employed in the performance of this
Contract/IGSA by the contractor or any subcontractor shall be paid not
less than the minimum monetary wages and shall be furnished fringe
benefits in accordance with the wages and fringe benefits determined by
the Secretary of Labor or authorized representative, as specified in
any wage determination attached to this contract,

 (2) (i) If there is such a wage determination attached to this
Contract/IGSA, the contracting officer shall require that any class of
service employee which is not listed therein and which is to be
employed under the Contract/IGSA (i.e., the work to be performed is not
performed by any classification listed in the wage determination), be
classified by the contractor so as to provide a reasonable relationship
(i.e., appropriate level of skill comparison) between such unlisted
classifications and the classifications listed in the wage
determination. Such conformed class of employees shall be paid the
monetary wages and furnished the fringe benefits as are determined
pursuant. to the procedures in this section.

 {ii)Such conforming procedure shall be initiated by the contractor
prior to the performance of contract/IGSA work by such unlisted class
of employee. A writ.ten report of the proposed conforming action,
including information regarding the agreement or disagreement of the
authorized representative of the employees involved or, where there is
no authorized representative, the employees themselves, shall be
submitted by the contractor to the contracting officer no later than 30
days after such unlisted class of employees performs any Contract/IGSA
work. The contracting officer shall review the proposed action and
promptly submit a report of the action, together with the agency's
recommendation and all pertinent information including the position of
the contract.or and the employees, to the Wage and Hour Division,
Employment Standards Administration, U.S. Department of Labor, for
review. The Wage and Hour Division will approve, modify, or disapprove
the action or render a final determination in the event of disagreement


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within 30 days of receipt or will notify the contracting officer within
30 days of receipt that additional time is necessary.

(iii) The final determination of the conformance action by the Wage and
Hour Division shall be transmitted to the contracting officer who shall
promptly notify the contractor of the action taken. Each affected
employee shall be furnished by the contractor with a written copy of
such determination or it shall be posted as a part of the wage
determination.

 (iv) (A) The process of establishing wage and fringe benefit rates that
bears a reasonable relationship to those listed in a wage determination
cannot be [[Page 41]] reduced to any single formula. The approach used
may vary from wage determination to wage determination depending on the
circumstances. Standard wage and salary administration practices, which
rank various job classifications by pay grade pursuant to point schemes
or other job factors may, for example, be relied upon. Guidance may
also be obtained from the way different jobs are rated under Federal
pay systems (Federal Wage Board Pay System and the General Schedule) or
from other wage determinations issued in the same locality. Basic to
the establishment of any conformable wage rate(s) is the concept that a
pay relationship should be maintained between job classifications based
on the skill required and the duties performed.

 (B) In the case of a Contract/IGSA modification, an exercise of an
option or extension of an existing contract, or in any other case where
a contractor succeeds a Contract/IGSA under which the classification
question was previously conformed pursuant to this section, a new
conformed wage rate and fringe benefits may be assigned to such
conformed classification by indexing (i.e., adjusting) the previous
conformed rate and fringe benefits by an amount equal to the average
 (mean) percentage increase (or decrease, where appropriate) between the
wages and fringe benefits specified for all classifications to be used
on the Contract/IGSA which are listed in the current wage
determination, and those specified for the corresponding
classifications in the previously applicable wage determination. Where
conforming actions are accomplished in accordance with this paragraph
prior to the performance of Contract/IGSA work by the unlisted class of
employees, the contractor shall advise the contracting officer of the
action taken but the other procedures in paragraph (b) (2) (ii) of this
section need not be followed.

 (C) No employee engaged in performing work on this Contract/IGSA shall
in any event be paid less than the currently applicable minimum wage
specified under section 6(a) (1) of the Fair Labor Standards Act of
1938, as amended. (v) The wage rate and fringe benefits finally
determined pursuant to paragraphs (b) (2) (i) and (ii) of this section
shall be paid to all employees performing in the classification from
the first day on which Contract/IGSA work is performed by them in the
classification. Failure to pay such unlisted employees the compensation
agreed upon by the interested parties and/or finally determined by the
Wage and Hour Division retroactive to the date such class of employees
commenced Contract/IGSA work shall be a violation of the Act and this
contract, (vi) Upon discovery of failure to comply with paragraphs
(b) (2) (i) through (v) of this section, the Wage and Hour Division shall
make a final determination of conformed classification, wage rate,


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and/or fringe benefits which shall be retroactive to the date such
class of employees commenced Contract/IGSA work.

 (3) If, as authorized pursuant to section 4{d) of the Service Contract
Act of 1965 as amended, the term of this Contract/IGSA is more than 1
year, the minimum monetary wages and fringe benefits required to be
paid or furnished there under to service employees shall be subject r?'\l
                                                                      L@J
adjustment after 1 year and not less often than once every 2 years,
pursuant to wage determinations to be issued by the Wage and Hour
Division, Employment Standards Administration of the Department of
Labor as provided in such Act.

(c) The contractor or subcontractor may discharge the obligation to
furnish fringe benefits specified in the attachment or determined
conformably thereto by furnishing any equivaJ.ent combinations of bona
fide fringe benefits, or by making equivalent or differential payments
in cash in accordance with the applicable rules set forth in subpart D
of 29 CFR part 4, and not otherwise.

 (d) (1) In the absence of a minimum wage attachment for this contract,
neither the contractor nor any subcontractor under this Contract/IGSA
shall pay any person performing work under the Contract/IGSA
(regardless of whether they are service employees) less than the
minimum wage specified by section 6 (a)(1) of the Fair Labor Standards
Act of 1938. Nothing in this provision shaJ.l relieve the contractor or
any subcontractor of any other obJ.igation under [[Page 42]J law or
Contract/IGSA for the payment of a higher wage to any employee.

 (2) If this Contract/IGSA succeeds a contract, subject to the Service
Contract Act of 1965 as amended, under which substantially the same
services were furnished in the same locality and service employees were
paid wages and fringe benefits provided for in a collective bargaining
agreement, in the absence of the minimum wage attachment for this
Contract/IGSA setting forth such collectively bargained wage rates and
fringe benefits, neither the contractor nor any subcontractor under
this Contract/IGSA shall pay any service employee performing any of the
Contract/IGSA work {regardless of whether or not such employee was
employed under the predecessor contract), less than the wages and
fringe benefits provided for in such collective bargaining agreements,
to which such employee would have been entitled if employed under the
predecessor contract, including accrued wages and fringe benefits and
any prospective increases in wages and fringe benefits provided for
under such agreement. No contractor or subcontractor under this
Contract/IGSA may be relieved of the foregoing obligation unless the
limitations of Sec. 4.lb(b) of 29 CFR part 4 apply or unless the
Secretary of Labor or his authorized representative finds, after a
hearing as provided in Sec. 4.10 of 29 CFR part 4 that the wages and/or
fringe benefits provided for in such agreement are substantially at
variance with those which prevail for services of a character similar
in the locality, or determines, as provided in Sec. 4.11 of 29 CFR
part 4, that the collective bargaining agreement applicable to service
employees employed under the predecessor Contract/IGSA was not entered
into as a result of arm's-length negotiations. Where it is found in
accordance with the review procedures provided in 29 CFR 4.10 and/or
4.11 and parts 6 and 8 that some or all of the wages and/or fringe
benefits contained in a predecessor contractor's collective bargaining
agreement are substantially at variance with those which prevail for

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services of a character similar in the locality, and/or that the
collective bargaining agreement applicable to service employees
employed under the predecessor Contract/IGSA was not entered into as a
result of arm's-length negotiations, the Department wi11 issue a new or
revised wage determination setting forth the applicable wage rates and
fringe benefits. Such determination shall be made part of the
Contract/IGSA or subcontract, in accordance with the decision of the
Administrator, the Administrative Law Judge, or the Administrative
Review Board, as the case may be, irrespective of whether such issuance
occurs prior to or after the award of a Contract/IGSA or subcontract.
53 Comp. Gen. 401 (1973). In the case of a wage determination issued
solely as a result of a finding of substantial variance, such
determination shall be effective as of the date of the final
ailininistrative decision.

 (e) The contractor and any subcontractor under this Contract/IGSA shall
notify each service employee commencing work on this Contract/IGSA of
the minimum monetary wage and any fringe benefits required to be paid
pursuant to this contract, or shall post the wage determination
attached to this contract. The poster provided by the Department of
Labor (Publication WH 1313) shall be posted in a prominent and
accessible place at the worksite. Failure to comply with this
requirement is a violation of section 2(a) (4) of the Act and of this
contract.

 (f) The contractor or subcontractor shall not permit any part of the
services called for by this Contract/IGSA to be performed in buildings
or surroundings or under working conditions provided by or under the
control or supervision of the contractor or subcontractor which are
unsanitary or hazardous or dangerous to the health or safety of service
employees engaged to furnish these services, and the contractor or
subcontractor shall comply with the safety and health standards applied
under 29 CFR part 1925.

(g) (1) The contractor and each subcontractor performing work subject to
the Act shall make and maintain for 3 years from the completion of the
work records containing the information specified in paragraphs (g) (1)
(i) through (vi) of this section for each employee subject to the Act
and shall make them available for inspection [[Page 43]] and
transcription by authorized representatives of the Wage and Hour
Division, Employment Standards Administration of the U,S. Department of
Labor:

(i) Name and address and social security number of each employee.

(ii)The correct work classification or classifications, rate or rates
of monetary wages paid and fringe benefits provided, rate or rates of
fringe benefit payments in lieu thereof, and total daily and weekly
compensation of each employee.

(iii) The number of dai.l.y and week.Ly hours so worked by each employee,

(iv) Any deductions, rebates, or refunds from the total daily or weekly
compensation of each employee.

(v) A list of monetary wages and fringe benefits for those classes of
service employees not included in the wage

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determination attached to this Contract/IGSA but for which such wa9e
rates or fringe benefits have been determined by the interested parties
or by the Administrator or authorized representative pursuant to the
labor standards clause in paragraph (b) of this section. A copy of the
report required by the clause in Paragraph (b) (2) (ii) of this section
shall be deemed to be such a list.

(vi) Any list of the predecessor contractor's employees which had been
furnished to the contractor pursuant to Sec. 4, 6 (l) ( 2) .

(2) The contractor shall also make available a copy of this
Contract/IGSA for inspection or transcription by authorized
representatives of the Wage and Hour Division.

(3) Failure to make and maintain or to make available such records for
inspection and transcription shall be a violation of the regulations
and this contract, and in the case of failure to produce such records,
the contracting officer, upon direction of the Department of Labor and
notification of the contractor, shall take action to cause suspension
of any further payment or advance of funds until such violation ceases,

(4) The contractor shall permit authorized representatives of the Wage
and Hour Division to conduct interviews with employees at the worksite
during normal working hours.

 (h) The contractor shall unconditionally pay to each employee subject
to the Act all wages due free and clear and without subsequent
deduction (except as otherwise provided by law or Regulations, 29 CFR
part 4), rebate, or kickback on any account, Such payments shall be
made no later than one pay period following the end of the regular
pay period in which such wages were earned or accrued. A pay period
under this Act may not be of any duration longer than semi-monthly.

 (i) The contracting officer shall withhold or cause to be withheld from
the Government prime contractor under this or any other Government
Contract/IGSA with the prime contractor such sums as an appropriate
official of the Department of Labor requests or such sums as the
contracting officer decides may be necessary to pay underpaid employees
employed by the contractor or subcontractor. In the event of failure to
pay any employees subject to the Act all or part of the wages or fringe
benefits due under the Act, the agency may, after authorization or by
direction of the Department of Labor and written notification to the
contractor, take action to cause suspension of any further payment or
advance of funds until such violations have ceased. Additionally, any
failure to comply with the requirements of these clauses relating to
the Service Contract Act of 1965, may be grounds for termination of the
right to proceed with the Contract/IGSA work. In such event, the
Government may enter into other contracts or arrangements for
completion of the work, charging the contractor in default with any
additional cost.

(j) The contractor agrees to insert these clauses in this section
relating to the Service Contract Act of 1965 in all Subcontracts
subject to the Act. The term contractor as used in these clauses in any
subcontract shall be deemed to refer to the subcontractor, except in
the term Government prime contractor.


Shared IGSA Template               Attachment l          Page 5 of9
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                                                                  1/8/2008

 (k) (1) As used in these clauses, the term service employee means any
person engaged in the performance of this Contract/IGSA other than any
person employed in a bona fide executive, administrative, or
professional capacity, as those terms are defined in part 541 of title
29, Code of Federal Regulations, as of July [[Page44)) 30, 1976, and
any subsequent revision of those regulations, The term service employee
includes all such persons regardless of any contractual relationship
that may be alleged to exist between a contractor or subcontractor and
such persons.

(2) The following statement is included in contracts pursuant to
section 2(a) (5) of the Act and is for informational purposes only:

The following classes of service employees expected to be employed
under the Contract/IGSA with the Government would be subject, if
employed by the contracting agency, to the provisions of 5 U.S.C, 5341
or 5 U.S,C. 5332 and would, if so employed, be paid not less than the
following rates of wages and fringe benefits:

        Employee class                  wage-fringe benefit
           GS-05                       $15.42
           GS-07                       $19.10



 (1) (1) If wages to be paid or fringe benefits to be furnished any
service employees employed by the Government prime contractor or any
subcontractor under the Contract/IGSA are provided for in a collective
bargaining agreement which is or will be effective during any period in
which the Contract/IGSA is being performed, the Government prime
contractor shall report such fact to the contracting officer, together
with full information as to the application and accrual of such wages
and fringe benefits, including any prospective increases, to service
empJ.oyees engaged in work on the contract, and a copy of the collective
bargaining agreement" Such report shall be made upon commencing
performance of the contract, in the case of collective bargaining
agreements effective at such time, and in the case of such agreements
or provisions or amendments thereof effective at a later time during
the period of Contract/IGSA performance, such agreements shall be
reported promptly after negotiation thereof,

 (2) Not less than 10 days prior to completion of any Contract/IGSA
being performed at a Federal facility where service employees may be
retained in the performance of the succeeding Contract/IGSA and subject
to a wage determination which contains vacation or other benefit
provisions based upon length of service with a contractor (predecessor)
or successor (Sec. 4,173 of Regulations, 29 CFR part 4), the incumbent
prime contractor shall furnish to the contracting officer a certified
list of the names of all service employees on the contractor's or
subcontractor's payroll during the last month of Contract/IGSA
performance. Such list shall also contain anniversary dates of
employment on the Contract/IGSA either with the current or predecessor
contractors of each such service employee. The contracting officer
shall turn over such list to the successor contractor at the
commencement of the succeeding contract.



Shared IGSA Template               Attachment 1          Page 6 of9
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                                                                  1/8/2008

Im) Rulings and interpretations of the Service Contract Act of 1965, as
amended, are contained in Regulations, 29 CFR part 4.

(n)(1) By entering into this contract, the contractor (and officials
thereof) certifies that neither it (nor he or she) nor any person or
firm who has a substantial interest in the contractor's firm is a
person or firm ineligible to be awarded Government contracts by virtue
of the sanctions imposed pursuant to section 5 of the Act.

(2) No part of this Contract/IGSA shall be subcontracted to any person
or firm ineligible for award of a Government Contract/IGSA pursuant to
section 5 of the Act.

(3) The penalty for making false statements is prescribed in the U.S.
Criminal Code, 18 U.S.C. 1001.

 (o) Notwithstanding any of the clauses in paragraphs (b) through (m) of
this section relating to the Service Contract Act of 1965, the
following employees may be employed in accordance with the following
variations, tolerances, and exemptions, which the Secretary of Labor,
pursuant to section 4(b) of the Act prior to its amendment by Public
Law 92-473, found to be necessary and proper in the public interest or
to avoid serious impairment of the conduct of Government business:

(l)Apprentices, student-learners, and workers whose earning capacity is
impaired by age, physical, or mental deficiency or injury may be
err�loyed at wages lower than the minimum wages otherwise required by
section 2(a) (1) or([Page 45]]

(2)(b)(1) of the Service Contract Act without diminishing any fringe
benefits or cash payments in lieu thereof required under section 2(a)
(2) of that Act, in accordance with the conditions and procedures
prescribed for the employment of apprentices, student-learners,
handicapped persons, and handicapped clients of sheltered workshops
under section 14 of the Fair Labor Standards Act of 1938, in the
regulations issued by the Administrator (29 CFR parts 520, 521, 524,
and 525).

 (3) The Administrator will issue certificates under the Service
Contract Act for the employment of apprentices, student-learners,
handicapped persons, or handicapped clients of sheltered workshops not
subject to the Fair Labor Standards Act of 1938, or subject to
different minimum rates of pay under the two acts, authorizing
appropriate rates of minimum wages (but without changing requirements
concerning fringe benefits or supplementary cash payments in lieu
thereof), applying procedures prescribed by the applicable regulations
issued under the Fair Labor Standards Act of 1938 (29 CFR parts 520,
521, 524, and 525).

(4) The Administrator will also withdraw, annul, or cancel such
certificates in accordance with the regulations in parts 525 and 528 of
title 29 of the Code of Federal Regulations.

(p) Apprentices will be permitted to work at less than the
predetermined rate for the work they perform when they are employed and
individually registered in a bona fide apprenticeship program
registered with a State Apprenticeship Agency which is recognized by

Shared IGSA Template               Attachment l          Page 7 of9
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                                                                                      1/8/2008

the U.S. Department of Labor, or if no such recognized agency exists in
a State, under a program registered with the Bureau of Apprenticeship
and Training, Employment and Training Administration, U.S. Department
of Labor. Any empJ.oyee who is not registered as an apprentice in an
approved program shall be paid the wage rate and fringe benefits
contained in the applicable wage determination for the journeyman
classification of work actually performed. The wage rates paid
apprentices shall not be less than the wage rate for their level of
progress set forth in the registered program, expressed as the
appropriate percentage of the journeyman's rate contained in the
applicable wage determination. The allowable ratio of apprentices to
journeymen employed on the Contract/IGSA work in any craft
classification shall not be greater than the ratio permitted to the
contractor as to his entire work force under the registered program.

(q) Where an employee engaged in an occupation in which he or she
customarily and regularly receives more than $30 a month in tips, the
amount of tips rece.i. ved by the employee may be credited by the employer
against the minimum wage required by Section 2 (a) (1) or 2 (b) (l) of the
Act to the extent permitted by section 3(m) of the Fair Labor Standards
Act and Regulations, 29 CFR Part 531. To utilize this provison:

(l)The employer must inform tipped employees about this tip credit
allowance before the credit is utilized;

(2)The employees must be allowed to retain all tips (ind.ividually or
through a pooling arrangement and regardless of whether the employer
elects to take a credit for tips received);

(3) The employer must be able to show by records that the employee
receives at least the applicable Service Contract Act minimum wage
through the combination of direct wages and tip credit;

(4) The use of such tip credit must have been permitted under any
predecessor collective bargaining agreement applicable by virtue of
section 4(c) of the Act.

 (r) Disputes concerning labor standards. Disputes arising out of the
labor standards provisions of this Contract/IGSA shall not be subject
to the general disputes clause of this contract. Such disputes shall be
resolved in accordance with the procedures of the Department of Labor
set forth in 29 CFR parts 4, 6, and 8. Disputes within the meaning of
this clause include disputes between the contractor (or any of its
subcontractors) and the contracting agency, the U.S. Department of
Labor, or the employees or their representatives. (The information
collection, recordkeeping, and reporting requirements contained in this
section have been approved by the Office of Management and Budget under
the following numbers:
[ [Page 4 6]]

- Paragraph                                                             0MB control nuITber

(b) (2) (i)--(iv) ... , ....... , ... ,, .... , ... ,,., .. , ....        1215-0150
(e)., •• , .•.• , ••. , ..• , •....•• , ....••••• , .•. , •. , •...••     1215-0150
(g)(l) (i)--(iv) ............. , ..................... .                  1215-0017
(g)(l) (v), (vi) ................................. ,..                    1215-0150
(1) (1), (2) .•..•••... , .••.•... , ...•• , ......•••...•.               1215-0Ei0

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                                                                                                                                                                                         1/8/2008

 (q) (3)., ••••   >   •   •   •   •   •   ,   '   .   ,   •   •   • • •   >   •   •   •   ,   • •   ,   ,   •   •   •   >   >   ,   '   <   •   •   •   •   •   •   •   ,
                                                                                                                                                                            1?15-001 7

[48 FR 49762, Oct. 27, 1983; 48 FR 50529, Nov. 2, 1983, as amended at
61 FR 68663, Dec. 30, 1996]




Shared IGSA Template                                                                                Attachment 1                                                            Page 9 of9
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                                                                                                                                        Page 1
                   REGISTER OF WAGE DETERMINATIONS UNDER                                U.S. DEPARTMENT OF LABOR
                          THE SERVICE CONTRACT ACT                                EMPLOYMENT STANDARDS A0M!NISTRATION
                        By direction of the Secretary of labor                           WAGE AND HOUR DMSION
                                                                                         WASH[NGTON, D.C. 20210



                                                                                       Wage Determination No.: 2007-0550
                   WIiiiam W. Gross                Div!s!on of                                    Revision No.: i
                   Director                        Wage Determinations                   Date of last Revision: 10/29/2007

                   State: Massachusetts

                  Area: Massachusetts County of Brtstol
                  Employed on U.S. Department of Homeland Security contract agreement (IGA) for prisoner detention services
                  between
                  Unfted States Immigration and Customs Enforcement and Prisoner Operations Division and Bristo! County
                  Correctional Faci!lty, MA
                  The wage rates and fringe benefits paid by above company are hereby adopted as prevailing.

                  NOTE; Under Section 2(b){1) of the Service Contract Act no empl oyees shall be paid less than the minimum
                  wage specified by Section 6{a)(1) of the Fair Labor Standards Act; $5.85 per hour, effective July 24, 2007 .



                  ...., UNIFORM ALLOWANCE "'"'

                   If employees. are required to wear uniforms In_ the performance of this contract (either by the terms of the
                   Government contract, by the employer, by the state or local law, etc.), the cost of furnishing such uniforms
                   and maintaining (by laundering or dry cleaning} such uniforms fs an expense that may not be borne by an
                   employee where such cost reduces the houriy rate below that required by the wage determination. The
                 , Department of Labor wm accept payment In accordance w!!l1 the foHowing standards as compliance:

                 The oontractrir or subcontractor ls required to furnish all employees with an adequate number of uniforms
                 without oost or to reimburse employees for the actua! cost of the uniforms. In addition, where uniform
                 cleaning and maintenance is made the respons!billty of the employee, all contractors and subcontractors
                 subject to this wage determination shall (In the absence of a bona fide collective bargaining agreement
                 providing for a different amount, or the fumfshing of contrary affirmative proof as to the actual cost), reimburse
                 a!I employees for s uch cleaning and maintenance at a rate of $3.35 per week {or $.67 cents per day).
                 However, in those instances where the uniforms furnished are made of "wash and wear" materials, may be
                 routinely washed and dried with other personal garments, and do not require any special treatment such as
                 dry cleaning, daily washing, or c:ommen:::la! laundering in order to meet the cleanliness or appearance
                 standards set by the terms of the Government contract, by the contractor, by law, or by the nature of the
                 work, there is no r�quirement that employees be reimbursed for uniform maintenance costs.




                            Attachment n
---�----==--------------------------,    .,.,...._...,.......,.. .,.....,...,..,.,.....,..,.. . .      u•••-••>�,->�YU   ---.,..,---�-----•---•-••••• •••-'•   ••••,�
  Case 1:22-cv-10652-WGY Document 30-1 Filed 02/13/23 Page 29 of 47




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                                                                                                              1. CONTRACT ID CODE                                    PAGE OF PAGES
AMENDMENT OF SOLICITATION/MODIFICATION OF CONTRACT                                                        ,                                                      I

2. AMENDMENT/MODIFICATION NO.                               3. EFFECTIVE DATE                      4. REQUISITION/PURCHASE REQ. NO.
                                                                                                                                                                         1    l      ·   3
                                                                                                                                                             5. PROJECT NO, (If applicable)
                                                                                                                                                         ,
P00002                       10/02/2008
6. ISSUED BY            CODE                                                                        7. ADMINISTERED BY (If other than Item 6)                coDE
                             ICE/DM/DC.-DC                                                                                         lrcE/DM/oc-oc
ICE/Detent Mngt/Detent Contracts-DC                                                                ICE/Detent Mngt/Detent Contracts-DC
Immigration and Customs Enforcement                                                                Immigr:ation and Customs Enforcement
Office of Acquisition Management                                                                   Office of Acquisition Management
425 I Street NW, Suite 2208                                                                        425 I Street NW, Suite 2208
Washington DC 20536                                                                                Washington DC 20536
8. NAME AND ADDRESS OF CONTRACTOR (/Vo., straot, county, Stare and ZIP Corte)                           9A AMENDMENT OF SOLICITATION NO.
                                                                                                  (X)

BRIS'l'OL COUNTY SHERIFFS OFFICE
400 FAUNCE CORNER RD                                                                                    98. DATED (SEE ITEM 11)

N ORTH DARTHMOUTH MA 02747-1275

                                                                                                        10A MODIFICATION OF CONTRACT/ORDER NO,
                                                                                                  X
                                                                                                        DROIGSA-07-0032/

                                                                                                        108. DATED (SEE ITEM 11)
CODE                                                        FACILITY CODE                               09/27/2007
           0460001421000
                                                             11. THIS ITEM ONLY APPLIES TO AMENDMENTS OF SOLICITATIONS
[J The above numbered solicitation is amen ded as set forth in Item 14. Tho hour and dale specffied for receipt of Offers                      □   is extended,      □
                                                                                                                                                                    is not extended.
   Offers must acknowledge receipt of this amendment prier to the hour and date •P<1cified in the solicitation or as amended, by one ol the following methods: (a) By completing
   ltel)ls 8 and 15, and returning   ____ copies of the amendment; (b) By ac!<nowledging receipt of this amendment on each copy of the offer submitted; or (c) By
  separate relier or telegram which includes a reference to tt,e solicitalion and amendmenl numbers. FAILURE OF YOUR ACKNOWLEDGEMENT TO BE RECEIVED AT
  THE PLACE DESIGNATED FOR THE RECEIPT OF OFFERS PRIOR TO THE HOUR AND DATE SPECIFIED MAY RESULT IN REJECTION OF YOUR OFFER lfby
  virtue of this amendment you desire to change an offer already submitted, such change may be made by telegram or lelter, provided each telegram or letter makes reference
  to the solicitation and this amendment, and is received prior to the opening hour and date specified
12. ACCOUNTING AND APPROPRIATION DATA (If requited)
See Schedule
                 13. THIS ITEM ONLY APPLIES TO MODIFICATION OF CONTRACTS/ORDERS. IT MODIFIES THE CONTRACT/ORDER: NO. AS DESCRIBED IN ITEM 14.


 CHECK ONE      A. THIS CHANGE ORDER IS ISSUED PURSUANT TO; (Specify aut/Jority) THE CHANGES SET FORTH IN ITEM 14 ARE MADE IN THE CONTRACT
                   ORDER NO. IN ITEM 10A.

                B, THE ABOVE NUMBERED CONTRACT/ORDER IS MODIFIED TO REFLECT THE ADMINISTRATIVE CHANGES (such as changes in paying office,
                   appropriation dale, etc.) SF.T FORTH IN ITEM 14, PURSUANT TO THE AUTHORITY OF FAR 43.103(b),
     X
                C. THIS SUPPLEMENTAL AGREEMENT IS ENTERED INTO PURSUANT TO AUTHORITY OF;


                u, OTHt:R (Specify type ofmodification and authority)

E. IMPORTANT;        Contractor                 � is not,   Dis required to sign lhis document and relum _______ copies to the issuing office.
14, DESCRIPTION OF AMENDMENT/MODIFICATION (Organized by UCF section headings, including so/icitationlcantract subject mailer where feasible.)
DUNS Number:                  556747269
Field Offic
Amanda Raym
Program POC


Arnold Casterline, Contract Specialist,


The purpose of this modificatio n is to revise the procedure for Providers to submit their
invoices for Agreement DROIGSA-07-0032. This revised procedure is effective commencing
Continued ...
Except as provided herein, all tenns and conditions of the document referenced in Item 9A or 10A, as heretofore changed, remains unchanged and in full force and effect.
15A NAME AND TITI.E OF SIGNER (fypeor print)                                                        16A. NAME ANDTITlE OF CONTRACTING OFFICER (Type or print)

                                                                                                      Jerald H. Neveleff
158. CONTRACTORIOFFEROR                                                   15C. DATE SIGNED                                                                                   16C. DATE SIGNED


              (Signature Dt/Kff.SOn authorizedto sign)

NSN 7540-01-152-8070                                                                                                                                   STANDARD FORM 30 (REV. 10-83]
Previous edition unusable                                                                                                                              Prescribed by GSA
                                                                                                                                                       FAR (48 CFR) 53.243
                         Case 1:22-cv-10652-WGY Document 30-1 Filed 02/13/23 Page 31 of 47

                                REFERENCE NO. OF DOCUMENT BEING CONTINUED                                          PAGE        OF
   CONTINUATION SHEET
                                DROIGSA-07-0032/ /P00002                                                              2              3
 NAME OF OFFEROR OR CONTRACTOR
 BRISTOL COUNTY SHERIFFS OFFICE
   ITEM NO.                                 SUPPLIES/SERVICES               QUANTITY UNIT   UNIT PRICE                    AMOUNT

     (A)                                           (BJ                       (C)     (D)      (E)                           {F)

                 November 3, 2008 and pertains to all invoices
                 submitted on that date and thereafter.

                  In accordance with Article XII, Enrollment,
                  Invoicing and Payment, revise paragraph (Bl
                  "Invoicing" to read as follow:

                   Invoices shall be submitted via one of the
                 following three methods:

                 By mail:

                 DHS, ICE
                 Burlington Finance Center
                 P.O. Box 1620
                 Williston, VT 05495-1620
                 Attn: ICE-DRO-FOD-Boston

                 b.   By facsimile {fax): (include a cover sheet
                 with point of contact & # of pages)

                       802-288-7658

                 c.By e-mail:

                       Invoice.Consolidation@dhs.gov

                 Invoices submitted by other than these three
                 methods will be returned. The contractor's
                 'raxpayer Identification Number (TIN) must be
                 registered in the Central Contractor Registration
                  (http://www.ccr.gov) prior to award and shall be
                 notated on every invoice submitted to ICE on or
                 after Nov 3, 2008 to ensure prompt payment
                 provisions are met. The ICE program office shall
                 also be notated on every invoice.

                 The information required with each invoice
                 submission is as follows:

                Each invoice submitted shall cbntain the
                following information:
                the name and address of the facility;
                 Invoice date and number;
                Agreement number, line item number and, if
                applicable, the Task order number;
                'l'erms of any discount for prompt payment offered;
                Name, title, and phone number of person to notify
                in event of defective invoice;
                Taxpayer Identification Number (TIN). The
                Continued ...




NSN 7540-01-152-8067                                                                                     OPTIONAi. FORM 336 (4-86)
                                                                                                         Sponsorao by GSA
                                                                                                         FAR (48 CFR) 53.110
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                             REFERENCE NO. OF DOCUMENT BEING CONTINUED                                          PAGE       OF
   CONTINUATION SHEET
                              DROIGSA-07-0032/ /P00002                                                            3              3
 NAME OF OFFEROR OR CONTRACTOR
 BRISTOL COUNTY SHERIFFS OFFICE
   JTEMNO.                               SUPPLIES/SERVICES               QUANTITY UNIT   UNIT PRICE                   AMOUNT

      {A)                                       (BJ                       (C)     (D)      (E)                           (Fl

                  Contractor shall include its TIN on the invoice
                  only if required elsewhere in this Agreement.
                   (See paragraph 1 above.)
                  the daily rate;
                  the total number of residential/detainee days;
                  the name of each ICE resident/detainee;
                  resident's/detainee's A-number;
                  specific dates of detention for each
                  resident/detainee;
                  the total residential/detainee days multiplJ..ed by
                  the daily rate;
                  For stationary guard services, the itemized
                  monthly invoice shall state the number of hours
                  being billed, the duration of the billing (times
                  and dates) and the name of the
                  resident(s)/detainee(s) that was guarded.

                  Items (a.) through (h.) must be on the cover page
                  of each invoice.

                  Invoices without the above information may be
                  returned for resubmission.

                  3. All other terms and conditions remain the same.




NSN 7540.01-152-!1067                                                                                 OPTIONAL FORM 336 (4-86)
                                                                                                      Sponsored by GSA
                                                                                                      FAR (48CFR}53.110
 Case 1:22-cv-10652-WGY Document 30-1 Filed 02/13/23 Page 33 of 47




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                  Case 1:22-cv-10652-WGY Document 30-1 Filed 02/13/23 Page 34 of 47



  .AMENDMENT OF SOUCITATlON/MOOIFIOATION QF CONTRACT                                                              11. CONTRACT 10 COD)!                                         !
                                                                                                                                                                                 "/\GE OF PAGES

  2. MIENOMr:tHIMOOlFICATIOll NO.                          3. EFfl:CllVE 01\ll:.                          4. Rl'.QU!SITlONll'URCIIA$!: REO. NO.
                                                                                                                                                                                     l     !         2
                                                                                                                                                                              PROJECT NO. (JIoppl!cah/lJ)
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  P00003                      Soe Block 16C
  O. ISSUEO SY                ICE/DH/DC-DC          CODE                                                   7. AflMllllSTEllEO BY (If Olhet than/lem 0)
                                                                                                                                     COil!! jICE/DM/DC-DC
 ICE/Detent Mngt/Detent Contracts-DC                                                                      lCE/Detent Mngt/Datent Contracts-DC
 Immigration and Customs Enforcement                                                                      Immigration and Customs Enforcement
 Office of Acquisition Management                                                                         Office of Acquisition Management
 425 I Street NW, suite 2208                                                                              425 I Stteat NW, Suite 2208
 Washington DC 20536                                                                                      Washington DC 20536
 0. tlAME AND /\ODRESS OF CONTRACTOR IM>-. $ll'f1'J; «l<h\/y, st"1• Mdlil>c«io)
                                                                                                          (X) 9/\. MIENOMENTOF soucmmon NO,
                                                                                                          ,-
BRLS'fOL COUN'l'Y SHERIFFS OFFICE
400 FAUNCE CORNER RD                                                                                           OIi. DATl!O (Slit
                                                                                                                               f ITEM It)
NOR'l'H DIIR'l'HM0UTH MA 02747-1275
                                                                                                               10/\. MODlFICAl!Oll OF COll MCT/OROliR NO,
                                                                                                          X    DROIGSA-07-0032 J

                                                                                                               too, OATEO (SEE lffiM 13)
 COOi,     0460001421000                                   FACILITY COile                                      09/21/2007
                                                             ,,. IOf(JIJGfl'JVf'iS...• nr,·c..u;;;.,;;,             ,.,.,. -4   _..,.,_.,.,.�,.��..-r•...-

0 The ebovo OOOlbe/00 WlldWJon ls nme!Y.loo as sill froh In Hem 14. TI•� hOIK Md dalosp«ffied for rncelpl ol Offera                                Qliox!onded, Ol<l Ml o�le,wed.
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  vitluo ol this smon<lroor,t you oos�o to choooo ll1I of/er d1oad)' solxnlt!ed, MX11 ehOC(lo m•y oo mado by tolcjjram -Of l<>lle,, piovkled 0001 to�rOll\ e< l<lller makes roforonw
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12, ACCOUllTlllG ANO I\J>PROPR!ATION DATA (If (e{julred)
 see Schedule
                   1). TIIIS llEM ONLY APPLIES TO MODIFICATION Of OO!llllAC'tS/OROERS. IT MOlllflES Tt!E COlllMCTIORDER NO, AS OESCll!ll!!D Ill llf.M 14,

                 A. THIS CHflNOll OROEI\ IS ISSUED PURSUANT TO: (Spr,dfy sulllority} THE CHAllGES SH FORTH IN ITffA 14 ARE MADE lti 'l'HE CONTMCT
                    ORD!:R NO. IM llfM 10A.

                 !l. TilEA00VE llUMOEReo CONTRACT/ORDER IS MOOIFIEO lO HEFU:CT THe AOMINISlAATM; CHAflGES {WCI! as d!oogo.s /(I fW}fll!J offiw,
                     gppropda!k)n ds/e, elc.) 61:T FORTH lN ITl:M 14, PURSUJ\UT TO lllf IIUTHOn!TY OF FM 43. fo:l(b).

                                                                                               mr'fo All'rHORrri' OF:

                . men I 19typo ofmrx!ilkiiJon en eu on{}:
     X         FAR 43,103 (al Bilateral Modification
I'!. IMPORTANT:   Conl!scl«      O/$mt IB)larequlre<l tos�11UUdowmaotM<lre1um                                                               1           ,;opteslolhols!u!09omco.
14. OESCRIPl!ON OF Jl/,IENOMENTIMOOIFlCATIOll (0(9$/JiZIJI/ by UCF $�/on h88dil'lf/S, lnduding SO!kil�Jion/00!!/nzj sub,� meU�r wllllro feasi�fi'.)
 DUNS Number: 556747269
 CONTACT INE'ORMATION:
·Program Office: Amanda Raymond
Cont:wcting Officer:
 Contract Specialist:

'fhe purpose of this modification is to increase the detainee bed day rate, incorporate the
ICE 2008 and 2010 Perfoi:mance Basea National Detention Standards {PBNDS).

The IGSA is amended as follows:

Continued .•.
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                                                                                                                                                                        STANDARD FORM 30 (REV. 10.!l::I)
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                       Case 1:22-cv-10652-WGY Document 30-1 Filed 02/13/23 Page 35 of 47

                            REFERENCE NO. OF DOCUMENT BEING CONTINUED                                                    OF
   CONTINUATION SHEET DROIGSA-07-0032//P00003                                                                                   2
NAME OF OFFEROR OR CONTRACTOR
BRISTOL COUNTY SHERIFFS OFFICE
   ITEM NO.                             SUPPLIES/SERVICES               QUANTITY UNIT   UNIT PRICE                 AMOUNT
     (A)                                       (B)                       {C)     (D)      (E)                          (F)

                 1) The Detainee bed day rate specified in Article
                 I is increased from $90.00 per day to $98.00 per
                 detained day.

                 2) The ICE 2008 and 2010 PBNDS are incorporated
                 as follows:
                 Remove the folJ.owing language from Article III
                 Covered Services

                 Consistent with there the Service Provider and
                 routinely offered to other inmates

                 and replace it with:

                 in accordance with the most current edition of
                 the ICE Performance Based National Detention
                 Standards {PBNDS) found within the ICE Detention
                 Operations Manual located at
                 http://www.ice.gov/partners/dro/PBNDS/index.htm,
                 and fully consistent with all applicable laws,
                 standards, policies and procedures and court
                 orders applicable to its facility (or
                 facilities), unless or as specifically modified
                 under this Agreement. This modification
                 incorporates by reference the 2010 ICE
                 Performance Based National Detention Standards
                 (2010 PBNDS). The Contractor agrees to use its
                 best efforts to comply with the minimal
                 performance levels and also agrees to use its
                 best efforts to attain the optimal levels of
                 performance contained in the 2010 PBNDS.


                 Article V: DHS/ICE Detention Standards

                 The ICE National Detention Standards
                 http://www.ice.gov/partners/dro/opsmanual/index.ht
                 m is replaced with the ICE Performance Based
                 National Detention Standards (PBNDS)
                 http://www.ice.gov/partners/dro/PBNDS/index.htm.


                 All other terms and conditions of the agreement
                 remains the same.




NSN 7540-01-152-8067                                                                                 OPTIONAL FORM 336 (4-86)
                                                                                                     Spoosorod by GSA
                                                                                                     FAR (48 CFR) 53.110
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                                                                                                                                                           CONTRACY tD CODE                                                       PAGE OF PAGr.S
 AMENDMENT OF SOUC1TATION/MOD!F!CATION OF CONTRACT
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 8. NAA'�E AND ADDRESS OF CONTRACTOR (No.. s!mi?:t :.:rmntj'. Sti;<.re P.1r.r:f Z!P Cod�)                                         (x) SA. AMENDMENT OF SOLIC!TATION NO.
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                       Case 1:22-cv-10652-WGY Document 30-1 Filed 02/13/23 Page 42 of 47

                                 REFERENCE NO. C!F DOCUMENT BEING CONTINUED                                                                         OF
  CONTINUATION SHEET
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 Case 1:22-cv-10652-WGY Document 30-1 Filed 02/13/23 Page 43 of 47




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                                                                                                                                1   CONTRACT ID CODE                                       PAGE Of PAGES
                                                                                                                            1
 AMENDMENT OF SOUC!TAT!ON/MO!J!FICATION OF CONTRACT
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40G          F'_.L\JJNCE (\)R-C"1SR RD                                                                                  98- DlffEO (SEE trEM 11;



                                                                                                                        JOA. MODIFICATION OF CONTRACTIORDER NO
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                                                                           ·11. THIS ITEM ONLY APPLIES TO AMENDM!,NTS OF SOUC!TAHONS




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                  ORDER NO lN ITEM ':GA

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                    C ! HIS SUf'PUcMENTN ACREEMENT !S U'lTi::RED INTO PURSUANT TO AUTHORJTY Or:

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  Case 1:22-cv-10652-WGY Document 30-1 Filed 02/13/23 Page 45 of 47




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                                                                                                                                                 1   CONTRACT iD CODc                              PAGE OF PAGES
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 2 AMENDMENT/MODIFICATION NO.                                               -3. EH·ECTIVE DATE                                   4 REQUISITION!F'l.!RCHA.SE REQ NO.                       5. F'RO,JECT NO. {It appiicat.de)
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 8. NAti-'1E AND ADDRESS OF CONTRACTOR (f'-io.. street. ccunty_ Stare and ZlP Code)                                                        9A AMENDMF..NT OF SOLICITATION NO.
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NORTH CARIHUDTE MA (127-,7127 5

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                       8 THE ABOVE NUMBERED GONTRACT/Ofi.DER !S fv10DlF!ED TO REH.ECT THE /.\0!"1>-i!N!STRAnVE CHANGES (.such as chtmges fr, paymg office,
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ITEM NO                                                                                      AMOl!NT


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